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     Counsel for Defendant, DOUGLAS STORMS YORK
 7

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 9
                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                              SAN JOSE DIVISION
11

12   UNITED STATES OF AMERICA,                       )       No. 15-00226 EJD
                                                     )
13
                            Plaintiff,               )       DEFENDANT DOUGLAS STORMS
                                                     )       YORK’S AMENDED PROPOSED
14
            v.                                       )       VERDICT FORM
15
                                                     )
                                                     )       Pretrial Conf.: August 24, 2015
16   DOUGLAS STORMS YORK,                            )
                                                     )       Time: 10:00 a.m.
17                          Defendant.               )
                                                     )       Trial Date: August 25, 2015
18

19          Defendant Douglas Storms York submits the amended proposed verdict form attached
20   as Exhibit A.
21

22
     Dated: August 14, 2015

23                                              Respectfully submitted,

24                                              STEVEN G. KALAR
                                                Federal Public Defender
25
                                                /s/ Graham Archer
26
                                                GRAHAM ARCHER
                                                Assistant Federal Public Defender

       Def.’s Amended Proposed Verdict Form
       CR 15-00226 EJD
                                                         1
     Case5:15-cr-00226-EJD Document66 Filed08/26/15 Page2 of 5



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 7
             EXHIBIT A
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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
 8

 9

10

11   UNITED STATES OF AMERICA,                     )       No. CR 15-00226 EJD
                                                   )
12                          Plaintiff,             )       VERDICT
                                                   )
13           v.                                    )
                                                   )
14   DOUGLAS STORMS YORK,                          )
                                                   )
15                          Defendant.             )
                                                   )
16

17

18

19   COUNT ONE: 18 U.S.C. § 912 – False Impersonation of An Employee of the United States

20   1) Did the government prove beyond a reasonable doubt that Mr. York falsely assumed and
21   pretended to be an employee acting under the authority of the United States Internal
22   Revenue Service?
23                  _______ NO
24                  _______ YES (proceed to question two)
25

26




                                                       3
                   Case5:15-cr-00226-EJD Document66 Filed08/26/15 Page4 of 5



 1
     2) Did the government prove beyond a reasonable doubt that Mr. York acted in such a
 2
     manner as an employee of the United States Internal Revenue Service, by falsely stating he
 3
     was an Agent of the Internal Revenue Service engaged in investigating tax records?
 4
                     _______ NO
 5
                     _______ YES (proceed to question three)
 6

 7
     3) Did the government prove beyond a reasonable doubt that Mr. York acted with the intent
 8

 9
     to defraud?

10   _______ NO

11   _______ YES

12

13   If you answered “No” to questions one, two or three, you must find Mr. York Not Guilty of

14   the offense as charged in Count One.

15
     ____________________________________________________________________________
16

17   COUNT TWO: 47 U.S.C § 223(a)(1)(C) – Telecommunications Device Harassment
18
     1) Did the government prove beyond a reasonable doubt that Mr. York did not disclose his
19
     identity?
20
     _______ NO
21
     _______ YES (proceed to question two)
22

23
     2) Did the government prove beyond a reasonable doubt that Mr. York acted with the intent
24
     to abuse, threaten and harass a specific person?
25
     _______ NO
26
     _______ YES (proceed to question three)




                                                        4
                Case5:15-cr-00226-EJD Document66 Filed08/26/15 Page5 of 5



 1
     3) Did the government prove beyond a reasonable doubt that Mr. York used a
 2
     telecommunications device that moved through interstate and foreign communications?
 3
     _______ NO
 4
     _______ YES
 5

 6
     If you answered “No” to questions one, two or three, you must find Mr. York Not Guilty of
 7
     the offense as charged in Count Two.
 8

 9
     ____________________________________________________________________________
10

11   Therefore, we the jury in the above-captioned case, unanimously find the Defendant, Douglas
     Storms York:
12

13

14   _________________________, (Not Guilty or Guilty) of False Impersonation of a Federal
15   Employee, in violation of 18 U.S.C. § 912.
16

17   _________________________, (Not Guilty or Guilty) of Telecommunications Device
18
     Harassment, in violation of 47 U.S.C. § 223(a)(1)(C).
19

20

21
     Dated: ___________ , 2015                          ________________________
22                                                      JURY FOREPERSON
23

24

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                                                    5
